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           12
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           13      CHEVRON U.S.A. INC.
           14      [Additional Counsel on Signature Pages]
           15                               UNITED STATES DISTRICT COURT
           16                           SOUTHERN DISTRICT OF CALIFORNIA
                   PERSIAN GULF INC., Individually       CASE NO. 3:15-cv-01749-L-AGS
           17      and on Behalf of All Others Similarly Lead Case No. 3:18-cv-01374-L-AGS
                   Situated,
           18                                            CLASS ACTION
                                     Plaintiff,
           19                                            DEFENDANTS’ UNOPPOSED
                           v.                            APPLICATION FOR RELIEF FROM
           20                                            THE COURT’S DISCOVERY ORDER
                   BP WEST COAST PRODUCTS LLC,           AT DOCKET NUMBER 186
           21      et al.,
           22                         Defendants.
           23                                                     Complaint Filed: June 21, 2018
                   RICHARD BARTLETT, et al.,                      Consolidated Compl. Filed: Aug. 8, 2018
           24      Individually and on Behalf of All Others
                   Similarly Situated,                            Judge: Hon. M. James Lorenz
           25                                                     Courtroom: 5B
                                      Plaintiff,
           26                                                     Magistrate
                         v.                                       Judge: Hon. Andrew G. Schopler
           27                                                     Courtroom: 5th Fl (Ste 5160)
                   BP WEST COAST PRODUCTS LLC,
           28      et al.,                                        Trial Date: Not Set
                   Defendants.
Gibson, Dunn &
Crutcher LLP                                                  1
                   APPLICATION FOR RELIEF                                 LEAD CASE NO. 3:18-CV-01374-L-AGS
                 Case 3:15-cv-01749-L-AGS Document 189 Filed 02/21/19 PageID.2767 Page 2 of 4


             1            Defendants Chevron U.S.A. Inc., Exxon Mobil Corporation, ExxonMobil Refining and
             2     Supply Co., and Phillips 66 (“Defendants”) file this Application for Relief from the Court’s
             3     Discovery Order at Docket Number 186 (the “Application”), which concerns motion practice related
             4     to a subpoena served on third party Consumer Watchdog. Counsel for Plaintiff Persian Gulf Inc.
             5     discussed this Application with counsel for Defendants and Plaintiffs do not oppose it. (Declaration
             6     of Steven E. Sletten (“Sletten Decl.”), ¶ 1.)
             7            1. Defendants are pursuing discovery from third-party Consumer Watchdog whose office is
             8     located in Los Angeles County, California. A subpoena duces tecum was served by Defendants on
             9     Consumer Watchdog on September 6, 2018 requiring production of documents on or before
           10      September 20, 2018 at 1517 Beverly Blvd., Los Angeles, California. Pursuant to the Federal Rules of
           11      Civil Procedure, any proceeding to enforce compliance with a subpoena served on Consumer
           12      Watchdog must be filed in the Central District of California, as the subpoena calls for the production
           13      of documents in that jurisdiction. Defendants have met and conferred with Consumer Watchdog
           14      extensively about the subpoena, and asked counsel for Consumer Watchdog to stipulate to have any
           15      potential dispute relating to the subpoena heard by the Court in the Southern District of California.
           16      (Id. at ¶ 2.) Counsel for Consumer Watchdog advised that he would not agree to this for, among
           17      other reasons, the fact that his office is in Los Angeles and relatively close to the federal courthouse
           18      in the Central District of California. There is thus much less burden for him to attend any hearings
           19      related to the dispute if those are conducted in Los Angeles. (Id.) Defendants prefer to have the
           20      dispute heard and resolved by this Court but considering the position of Consumer Watchdog they
           21      believe they have no options but to pursue motion practice relating to the Consumer Watchdog
           22      subpoena, if required, in the Central District of California.
           23             2. Defendants submitted successive applications to extend the time to move to compel
           24      Consumer Watchdog’s compliance with the terms of the subpoena largely for the sake of efficiency
           25      and to accommodate Consumer Watchdog’s legitimate interest in allowing the Court time to consider
           26      and rule on a related motion to compel directed to the Plaintiffs and their counsel’s communications
           27      with Consumer Watchdog. That motion to compel was granted by the Court at the conclusion of the
           28      hearing on January 24, 2019. Defendants immediately re-engaged with Consumer Watchdog to

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Crutcher LLP                                                           2
                   APPLICATION FOR RELIEF                                          LEAD CASE NO. 3:18-CV-01374-L-AGS
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             1     secure a privilege log with sufficient detail to enable Defendants to evaluate the claims of privilege
             2     over various documents withheld from production. (Id. at ¶ 3.) That log was produced on February
             3     12, 2019 at which time Defendants had for the first time information on most (but not all) of the
             4     withheld documents to enable them to engage in a meaningful meet-and-confer with Consumer
             5     Watchdog about its various claims of privilege. (Id. at ¶ 4.) Counsel for Defendants have met and
             6     conferred extensively with counsel for Consumer Watchdog in writing and telephonically, and have
             7     made progress narrowing the scope of the parties’ disputes. (Id.) It is believed that less than 10
             8     documents remain in contention. (Id.)
             9             3. Pursuant to the Central District of California’s Local Rule 37-2.2, any motion practice
           10      between Defendants and Consumer Watchdog will be conducted by the Joint Stipulation procedure,
           11      meaning Defendants will not initially be filing a motion but would instead serve on Consumer
           12      Watchdog their opening portion of the joint stipulation to which Consumer Watchdog would add its
           13      responsive section within seven (7) days thereafter. There is, therefore, no practical ability to pursue
           14      a motion to compel in the Central District on or before Friday, February 22. Defendants and
           15      Consumer Watchdog are both committed to promptly bringing any remaining disputes to the court in
           16      the Central District for consideration and commit to do that in the next 2-3 weeks. But considering
           17      that Consumer Watchdog will not submit to the jurisdiction of this Court and insists that any
           18      remaining disputes be presented to the Federal Court in Los Angeles, Defendants respectfully request
           19      that this Court relieve them of the Order at Docket Number 186 that would otherwise require them to
           20      bring a motion to compel relating to Consumer Watchdog on or before this Friday, February 22,
           21      2019.
           22

           23      DATED: February 21, 2019                      GIBSON, DUNN & CRUTCHER LLP
           24
                                                                 By: s/ Steven E. Sletten
           25                                                    STEVEN E. SLETTEN

           26                                                    Counsel for Defendant
                                                                 CHEVRON U.S.A. INC.
           27

           28

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Crutcher LLP                                                          3
                   APPLICATION FOR RELIEF                                         LEAD CASE NO. 3:18-CV-01374-L-AGS
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             1     DATED: February 21, 2019           WILSON TURNER KOSMO LLP
             2                                        By: s/ Robin Wofford
             3                                        ROBIN WOFFORD

             4                                        O’MELVENY & MYERS

             5                                        By: s/ Dawn Sestito
                                                      DAWN SESTITO
             6

             7                                        Counsel for Defendants
                                                      EXXON MOBIL CORPORATION
             8                                        EXXONMOBIL REFINING AND SUPPLY CO.

             9     DATED: February 21, 2019           NORTON ROSE FULBRIGHT
           10                                         By: s/ Joshua D. Lichtman
           11                                         JOSHUA D. LICHTMAN

           12                                         Counsel for Defendant
                                                      PHILLIPS 66
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Gibson, Dunn &
Crutcher LLP                                               4
                   APPLICATION FOR RELIEF                             LEAD CASE NO. 3:18-CV-01374-L-AGS
